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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF INDIANA
                         HAMMOND DIVISION AT LAFAYETTE

MARY DOE and NANCY ROE,                      )
    Plaintiffs,                              )
                                             )
       v.                                    )       CAUSE NO.: 4:18-CV-89-JEM
                                             )
PURDUE UNIVERSITY, et al.,                   )
    Defendants.                              )

                                            ORDER

       This matter is before the Court on a Joint Stipulation of Dismissal as to Plaintiff Mary Doe

[DE 147], filed by the parties on September 30, 2022. A plaintiff may voluntarily dismiss an action

without a court order by filing a stipulation of dismissal signed by all parties who have appeared.

Fed. R. Civ. P. 41(a)(1)(A)(ii). Plaintiff Mary Doe has done so in this case, and the Court

accordingly ACKNOWLEDGES that all claims of Plaintiff Mary Doe only are DISMISSED

with prejudice.

       SO ORDERED this 30th day of September, 2022.

                                             s/ John E. Martin
                                             MAGISTRATE JUDGE JOHN E. MARTIN
                                             UNITED STATES DISTRICT COURT
cc:    All counsel of record




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